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11

12                      IN THE UNITED STATES DISTRICT COURT

13                           FOR THE DISTRICT OF ARIZONA

14
     Digital Verification Systems, LLC,             No. CV-21-00919-PHX-DWL
15
           Plaintiff,                               JURY TRIAL DEMANDED
16
                                                    ZAVA’S ANSWER, AFFIRMATIVE
17         v.                                       DEFENSES, AND COUNTERCLAIMS
                                                    TO PLAINTIFF’S COMPLAINT
18   Zava Global Partners, LLC d/b/a Blueink,
19
           Defendant.
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21

22
                                                        DATED this 10th day of June, 2021.

23                                                                     /s/ Neil J. McNabnay
                                                                           Neil J. McNabnay
24                           Attorney for Defendant Zava Global Partners, LLC d/b/a Blueink
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 1           Defendant Zava Global Partners, LLC d/b/a Blueink (“Zava”) files this Answer,
 2   Affirmative Defenses, and Counterclaims to Plaintiff Digital Verification Systems, LLC’s
 3   (“Plaintiff’s”) Complaint for Patent Infringement (“Complaint”). Zava denies the
 4   allegations and characterizations in Plaintiff’s Complaint unless expressly admitted in the
 5   following paragraphs.1
 6                            THE PARTIES AND JURISDICTION
 7           1.     Zava admits the Complaint purports to set forth an action for patent
 8   infringement under Title 35 of the United States Code, but Zava denies it has committed
 9   or is committing acts of infringement and denies Plaintiff is entitled to any relief. Zava
10   denies any remaining allegations in Paragraph 1 of the Complaint.
11           2.     Zava admits that this Court has subject matter jurisdiction over this action
12   pursuant to 28 U.S.C. §§ 1331 and 1338(a) because Plaintiff has alleged infringement of a
13   patent, but Zava denies it has committed or is committing acts of infringement and denies
14   Plaintiff is entitled to any relief. Zava denies any remaining allegations in Paragraph 2 of
15   the Complaint.
16           3.     Zava is without knowledge or information sufficient to form a belief as to the
17   truth of the allegations in Paragraph 3 of the Complaint and, on that basis, denies all such
18   allegations.
19           4.     Zava admits that it is a Nevada limited liability company with a principal
20   place of business at 7373 E. Doubletree Ranch Road, Suite 200, Scottsdale, AZ 85258, and
21   that it may be served with process through its registered agent, Legalinc Corporate Services
22   Inc., 1810 E. Sahara Avenue, Suite 215, Las Vegas, NV 89104. Zava denies any remaining
23   allegations in Paragraph 4 of the Complaint.
24           5.     Zava does not contest whether this Court has personal jurisdiction over it for
25   the purposes of this action, but Zava denies it has committed or is committing acts of
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       For avoidance of doubt, Zava denies liability for all allegations of patent infringement
28   included or implied in the introductory paragraph or in any headings of the Complaint.
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      Case 2:21-cv-00919-DWL Document 13 Filed 06/10/21 Page 3 of 10




 1   infringement in this District or anywhere else. Zava denies any remaining allegations in
 2   Paragraph 5 of the Complaint.
 3          6.      Zava admits that it does business in this District. Zava admits that the
 4   Complaint purports to set forth an action for alleging patent infringement that has allegedly
 5   occurred in this District, but Zava denies it has committed or is committing acts of
 6   infringement in this District or anywhere else. Zava denies any remaining allegations in
 7   Paragraph 6 of the Complaint.
 8                                             VENUE
 9          7.      Zava does not contest whether venue is proper in this District pursuant to 28
10   U.S.C. § 1400(b). Zava admits that it has a principal place of business in this District. Zava
11   denies any remaining allegations in Paragraph 7 of the Complaint.
12       COUNT I: [ALLEGED] INFRINGEMENT OF U.S. PATENT NO. 9,054,860
13          8.      Zava incorporates by reference Paragraphs 1–7 above.
14          9.      Zava admits the Complaint purports to set forth an action for patent
15   infringement under Title 35 of the United States Code §§ 271, et seq., but Zava denies it
16   has committed or is committing acts of infringement and denies Plaintiff is entitled to any
17   relief. Zava denies any remaining allegations in Paragraph 9 of the Complaint.
18          10.     Zava is without knowledge or information sufficient to form a belief as to the
19   truth of the allegations in Paragraph 10 of the Complaint and, on that basis, denies all such
20   allegations.
21          11.     Zava admits that a purported copy of the ’860 Patent is attached to the
22   Complaint as Exhibit A. Zava admits that Exhibit A indicates that it is entitled “Digital
23   Verified Identification System and Method.” Zava is without knowledge or information
24   sufficient to form a belief as to the truth of any remaining allegations in Paragraph 11 of
25   the Complaint and, on that basis, denies all such allegations.
26          12.     Zava denies the allegations in Paragraph 12 of the Complaint.
27          13.     Zava denies the allegations in Paragraph 13 of the Complaint.
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 1             14.    Zava admits that it provides the Blueink product, as described at
 2   https://blueink.com/solutions/esignature-software/. Zava denies it has committed or is
 3   committing acts of infringement and denies Plaintiff is entitled to any relief. Zava denies
 4   any remaining allegations in Paragraph 14 of the Complaint.
 5             15.    Zava denies the allegations in Paragraph 15 of the Complaint.
 6             16.    Zava denies the allegations in Paragraph 16 of the Complaint.
 7             17.    Zava denies the allegations in Paragraph 17 of the Complaint.
 8             18.    Zava denies the allegations in Paragraph 18 of the Complaint.
 9             19.    Zava denies the allegations in Paragraph 19 of the Complaint.
10             20.    Zava denies the allegations in Paragraph 20 of the Complaint.
11             21.    Zava denies the allegations in Paragraph 21 of the Complaint.
12             22.    Zava denies the allegations in Paragraph 22 of the Complaint.
13                             [PLAINTIFF’S] PRAYER FOR RELIEF
14             Zava denies Plaintiff is entitled to any relief from Zava and denies all the allegations
15   contained in Paragraphs A–F of Plaintiff’s Prayer for Relief.
16                          [PLAINTIFF’S] DEMAND FOR JURY TRIAL
17             Zava is not required to provide a response to Plaintiff’s request for a trial by jury.
18                                    AFFIRMATIVE DEFENSES
19             Zava’s Affirmative Defenses are listed below. Zava reserves the right to amend its
20   answer to add additional Affirmative Defenses consistent with the facts discovered in this
21   action.
22                                 FIRST AFFIRMATIVE DEFENSE
23             Zava has not infringed and does not infringe, either literally or under the doctrine of
24   equivalents, under any theory of infringement (including directly (whether individually or
25   jointly) or indirectly (whether contributorily or by inducement)), any valid, enforceable
26   claim of the ’860 Patent (the “Asserted Patent”).
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      Case 2:21-cv-00919-DWL Document 13 Filed 06/10/21 Page 5 of 10




 1                            SECOND AFFIRMATIVE DEFENSE
 2          Each asserted claim of the Asserted Patent is invalid for failure to comply with one
 3   or more of the requirements of the United States Code, Title 35, including without
 4   limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws
 5   pertaining thereto.
 6                             THIRD AFFIRMATIVE DEFENSE
 7          To the extent that Plaintiff, any predecessors in interest, or any licensees to the ’860
 8   Patent failed to properly mark any of their relevant products or materials as required by 35
 9   U.S.C. § 287, or otherwise give proper notice that Zava’s actions allegedly infringe the
10   ’860 Patent, Zava is not liable to Plaintiff for the acts alleged to have been performed before
11   Zava received actual notice that it was allegedly infringing the ’860 Patent.
12                            FOURTH AFFIRMATIVE DEFENSE
13          Plaintiff’s attempted enforcement of the ’860 Patent against Zava is barred by one
14   or more of the equitable doctrines of estoppel, acquiescence, waiver, and unclean hands.
15                              FIFTH AFFIRMATIVE DEFENSE
16          The claims of the ’860 Patent are not entitled to a scope sufficient to encompass any
17   system employed or process practiced by Zava.
18                              SIXTH AFFIRMATIVE DEFENSE
19          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,
20   among other things, Plaintiff has not stated a plausible allegation that Zava infringes, either
21   directly or indirectly, under any theory of infringement, any valid, enforceable claim of the
22   ’860 Patent.
23                           SEVENTH AFFIRMATIVE DEFENSE
24          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because
25   the ’860 Patent does not claim patent-eligible subject matter under 35 U.S.C. § 101.
26                            EIGHTH AFFIRMATIVE DEFENSE
27          Plaintiff is precluded from recovering its reasonable attorneys’ fees, costs, and/or
28   increased damages under 35 U.S.C. §§ 284 or 285.
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      Case 2:21-cv-00919-DWL Document 13 Filed 06/10/21 Page 6 of 10




 1                             NINTH AFFIRMATIVE DEFENSE
 2          To the extent Plaintiff contends that it alleges a claim for indirect infringement
 3   (whether by inducement or contributorily), Plaintiff has failed to state a claim upon which
 4   relief can be granted.
 5                             TENTH AFFIRMATIVE DEFENSE
 6          Should Zava be found to infringe any valid, enforceable claim of the ’860 Patent,
 7   such infringement was not willful.
 8                            ELEVENTH AFFIRMATIVE DEFENSE
 9          Plaintiff is not entitled to injunctive relief as it has, at a minimum, no irreparable
10   injury and an adequate remedy at law for the alleged infringement.
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 1                                 ZAVA’S COUNTERCLAIMS
 2          For its counterclaims against Counterclaim Defendant Digital Verification Systems,
 3   LLC (“Counterclaim Defendant”), Counterclaim Plaintiff Zava Global Partners, LLC d/b/a
 4   Blueink (“Zava”) alleges as follows:
 5                                            PARTIES
 6          1.     Zava is a Nevada limited liability company with a principal place of business
 7   at 7373 E. Doubletree Ranch Road, Suite 200, Scottsdale, AZ 85258.
 8          2.     Upon information and belief based solely on Paragraph 2 of the Complaint
 9   as pled by Counterclaim Defendant, Counterclaim Defendant is a Texas limited liability
10   company located at 1 East Broward Boulevard, Suite 700, Fort Lauderdale, FL 33301.
11                                        JURISDICTION
12          3.     Zava incorporates by reference Paragraphs 1–2 above.
13          4.     These counterclaims arise under the patent laws of the United States, Title
14   35, United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C.
15   § 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.
16          5.     Counterclaim Defendant has consented to the personal jurisdiction of this
17   Court at least by commencing its action for patent infringement in this District, as set forth
18   in its Complaint.
19          6.     Based solely on Counterclaim Defendant’s filing of this action, venue is
20   proper, though not necessarily convenient, in this District pursuant at least 28 U.S.C.
21   §§ 1391 and 1400.
22           COUNT I: DECLARATION REGARDING NON-INFRINGEMENT
23          7.     Zava incorporates by reference Paragraphs 1–6 above.
24          8.     Based on Counterclaim Defendant’s filing of this action and at least Zava’s
25   first affirmative defense, an actual controversy has arisen and now exists between the
26   parties as to whether Zava infringes U.S. Patent No. 9,054,860 (the “’860 Patent”).
27          9.     Zava does not infringe at least Claim 1 of the ’860 Patent because, among
28   other things, the accused “Product” does not contain (1) “a module generating assembly
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      Case 2:21-cv-00919-DWL Document 13 Filed 06/10/21 Page 8 of 10




 1   structured to receive at least one verification data element corresponding to the at least one
 2   entity and create said at least one digital identification module”; (2) “said at least one digital
 3   identification module being disposable within at least one electronic file”; or (3) “said at
 4   least one digital identification module comprising at least one primary component
 5   structured to at least partially associate said digital identification module with said at least
 6   one entity, wherein said at least one digital identification module is cooperatively
 7   structured to be embedded within only a single electronic file” as required by the ’860
 8   Patent.
 9             10.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,
10   Zava requests a declaration by the Court that Zava has not infringed and does not infringe
11   any claim of the ’860 Patent under any theory (including directly (whether individually or
12   jointly) or indirectly (whether contributorily or by inducement)).
13                   COUNT II: DECLARATION REGARDING INVALIDITY
14             11.   Zava incorporates by reference Paragraphs 1–10 above.
15             12.   Based on Counterclaim Defendant’s filing of this action and at least Zava’s
16   Second Affirmative Defense, an actual controversy has arisen and now exists between the
17   parties as to the validity of the claims of the ’860 Patent.
18             13.   The asserted claims of the ’860 Patent are anticipated and/or rendered
19   obvious by, inter alia, U.S. Patent Nos. 5,606,609; 8,315,237; U.S. Patent Publ’n Nos.
20   2005/0229258; 2005/0080909; 2006/0259767; PCT Publ’n No. WO 02/073380; and/or JP
21   Patent No. 4,086,825 6,067,646.
22             14.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,
23   Zava requests a declaration by the Court that the claims of the ’860 Patent are invalid for
24   failure to comply with one or more of the requirements of United States Code, Title 35,
25   including without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules,
26   regulations, and laws pertaining thereto.
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      Case 2:21-cv-00919-DWL Document 13 Filed 06/10/21 Page 9 of 10




 1                                    PRAYER FOR RELIEF
 2          WHEREFORE, Zava asks this Court to enter judgment in Zava’s favor and against
 3   Counterclaim Defendant by granting the following relief:
 4          a)     a declaration that the ’860 Patent is invalid;
 5          b)     a declaration that Zava does not infringe, under any theory, any valid claim
 6   of the ’860 Patent that may be enforceable;
 7          c)     a declaration that the ’860 Patent is unenforceable;
 8          d)     a declaration Counterclaim Defendant take nothing by its Complaint;
 9          e)     judgment against Counterclaim Defendant and in favor of Zava;
10          f)     dismissal of the Complaint with prejudice;
11          g)     a finding that this action is an exceptional case under 35 U.S.C. § 285 and an
12   award to Zava of its costs and attorneys’ fees incurred in this action; and
13          h)     further relief as the Court may deem just and proper.
14                                        JURY DEMAND
15          Zava hereby demands trial by jury on all issues.
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     Case 2:21-cv-00919-DWL Document 13 Filed 06/10/21 Page 10 of 10




 1   Dated: June 10, 2021                    Respectfully submitted,
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                                             FISH & RICHARDSON P.C.
 3

 4
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 7                                               Ricardo J. Bonilla pro hac vice forthcoming
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 8                                               Texas Bar No. 24082704
 9                                               Collin J. Marshall pro hac vice forthcoming
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13                                                (214) 747-2091 (Facsimile)
14
                                             Attorneys for Defendant Zava Global
15                                           Partners, LLC d/b/a Blueink
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17                              CERTIFICATE OF SERVICE

18         The undersigned certifies that a true and correct copy of the above and foregoing
19
     document has been served on June 10, 2021, to all counsel of record who are deemed to
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     have consented to electronic service via the Court’s CM/ECF system.
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22                                                  /s/ Neil J. McNabnay
                                                    Neil J. McNabnay
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